Case 1:20-cv-02727-SCJ-RGV Document 1-21 Filed 06/29/20 Page 1 of 2

NOTICE OF SALE UNDER POWER
GEORGIA, FORSYTH COUNTY

By virtue of a Power of Sale contained in that certain Security Deed from GLENN M.
HEAGERTY to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS INC AS
NOMINEE FOR CAPITAL ONE HOME LOANS LLC, dated April 11, 2008, recorded May 8,
2008, in Deed Book 5125, Page 365-383 , Forsyth County, Georgia Records, said Security Deed
having been given to secure a Note of even date in the original principal amount of One Hundred
Ninety-Two Thousand and 00/100 dollars ($192,000.00), with interest thereon as provided for
therein, said Security Deed having been last sold, assigned and transferred to Wilmington
Savings Fund Society, FSB, as Owner Trustee of the Residential Credit Opportunities Trust
V-E, there will be sold at public outcry to the highest bidder for cash at the Forsyth County
Courthouse, within the legal hours of sale on the first Tuesday in July, 2020, all property
described in said Security Deed including but not limited to the following described property:

ALL THAT TRACT OR PARCEL OF LAND LYING AND BEING IN LAND LOT 1024 OF
THE 3RD DISTRICT, IST SECTION OF FORSYTH COUNTY, GEORGIA, BEING LOT 9
OF SAWNEE VIEW FARMS, AS PER PLAT RECORDED IN PLAT BOOK 41, PAGES
276-278, FORSYTH COUNTY, GEORGIA RECORDS, WHICH PLAT IS INCORPORATED
HEREIN AND MADE A PART HEREOF.

Said legal description being controlling, however the property is more commonly
known as 2890 WILLOW WISP WAY, CUMMING, GA 30040.

The indebtedness secured by said Security Deed has been and is hereby declared due
because of default under the terms of said Security Deed. The indebtedness remaining in
default, this sale will be made for the purpose of paying the same, all expenses of the sale,
including attorneys’ fees (notice to collect same having been given) and all other payments
provided for under the terms of the Security Deed.

Said property will be sold on an “as-is” basis without any representation, warranty or
recourse against the above-named or the undersigned. The sale will also be subject to the
following items which may affect the title: any outstanding ad valorem taxes (including taxes
which are a lien, whether or not now due and payable); the right of redemption of any taxing
authority; matters which would be disclosed by an accurate survey or by an inspection of the
property; all zoning ordinances; assessments; liens; encumbrances; restrictions; covenants, and
any other matters of record superior to said Security Deed.

To the best of the knowledge and belief of the undersigned, the owner and party in
possession of the property is GLENN M. HEAGERTY, or tenants(s).

The sale will be conducted subject (1) to confirmation that the sale is not prohibited
under the U.S. Bankruptcy Code and (2) to final confirmation and audit of the status of the loan
with the holder of the Security Deed.

Please note that, pursuant.to O.C.G.A. § 44-14-162.2, you are not entitled by law to an
amendment or modification of the terms of your loan. The entity having full authority to
negotiate, amend or modify all terms of the loan (although not required by law to do so) is:
American Mortgage Investment Partners Management LLC, Loss Mitigation Dept., 3020 Old
Ranch Parkway, Ste 180, Seal Beach, CA 90740, Telephone Number: 562-735-6555 x100.

WILMINGTON SAVINGS FUND SOCIETY, FSB, AS OWNER TRUSTEE OF THE
RESIDENTIAL CREDIT OPPORTUNITIES TRUST V-E
as Attorney in Fact for
GLENN M. HEAGERTY
Case 1:20-cv-02727-SCJ-RGV Document 1-21 Filed 06/29/20 Page 2 of 2

THE BELOW LAW FIRM MAY BE HELD TO BE ACTING AS A DEBT COLLECTOR,
UNDER FEDERAL LAW. IF SO, ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.

Attorney Contact: Rubin Lublin, LLC, 3145 Avalon Ridge Place, Suite 100, Peachtree Corners,
GA 30071

Telephone Number: (877) 813-0992 Case No. AMI-20-00195-7

Ad Run Dates 06/10/2020, 06/17/2020, 06/24/2020, 07/01/2020

rlselaw.com/property-listing
